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                               CURRICULUM VITAE
                           ARTHUR MAHONY MURRAY
                              MURRAY LAW FIRM
EDUCATION:         Tulane University School of Law, Juris Doctor magna cum laude, 2001

EMPLOYMENT:        Attorney, Murray Law Firm since 2001

PRACTICE AREAS:    Complex Litigation, Consumer Litigation, Pharmaceutical Litigation,
                   Environmental Litigation, Healthcare Recoupment Litigation, Insurance
                   Coverage Litigation

ADMISSIONS:        Louisiana State Bar, 2001

                   Texas State Bar, 2007

                   Louisiana Supreme Court, 2001

                   United States District Court
                   Eastern District of Louisiana, 2002

                   United States District Court
                   Middle District of Louisiana, 2002

                   United States District Court
                   Western District of Louisiana, 2002

                   United States District Court
                   District of Colorado, 2017

                   United States Court of Appeals for the Fifth Circuit, 2002

                   United States Supreme Court, 2006

                   Texas Supreme Court, 2007
PROFESSIONAL
ASSOCIATIONS
AND RECOGNITION: Member, Louisiana State Bar Association
                 Member, Louisiana Association for Justice
                 Member, American Association for Justice

                   Martindale-Hubbell AV Preeminent
                   Class Actions, Personal Injury, and Litigation

                   Louisiana Rising Star
                   Class Action/Mass Torts
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                 LISTING OF REPRESENTATIVE CASES

 1.   In Re: Equifax, Inc., Customer Data Security Breach Litigation
      Case No. 1:17-md-2800-TWT (MDL 2800)(N.D.Ga.)
      Member of PSC
2.    Bellwether Community Credit Union v. Chipotle Mexican Grill, Inc.
      Case No. 1:17-cv-01102 (D.Colo)
      Co-Lead Counsel
 2.   Midwest America Federal Credit Union v. Arby’s Restaurant Group, Inc.
      Case No. 1:17-cv-00514 (N.D.Ga.)
      Member of PSC
 3.   First Choice Federal Credit Union v. The Wendy’s Company, et al.
      Case No. 2:16-cv-00506 (W.D.Pa.)
      Executive Committee
3.    In Re: Home Depot, Inc., Customer Data Security Breach
      Civil Action No. 1:14-md-02583 (MDL 2583)(N.D.Ga.)
      Member of PSC
4.    In Re: National Football League’s “Sunday Ticket” Antitrust Litigation
      Case No. 2:15-ml-02668 (MDL 2668)(C.D.Cal.)
      Co-Chair of the PSC
5.    In Re: Zofran
      Case No. 1:15-md-2567 (MDL 2657)(D.Mass.)
      Member of PSC
6.    Greater Chautauqua Federal Credit Union v. Kmart Corp., et al.
      Case No. 1:15-cv-02228 (N.D.Ill.)
      Co-Lead Counsel
 7.   Darcy Guidry, et al. v. American Public Life Ins. Co., et al.
      Civil Action No. 2008-3465, Div. "G"
      14th Judicial District Court, Calcasieu Parish, Louisiana
      Lead Counsel for the Class
 8.   Joseph Grefer, et al. v. Alpha Technical, et al.
      Civil Action No. 1997-15004, Div. “J”
      Civil District Court for the Parish of Orleans
      Lead Appellate Counsel
 9.   Opelousas General Hospital Authority, A Public Trust, d/b/a Opelousas
      GeneralHealth System v. PPO Plus, L.L.C.
      Civil Action No. 13-C-5380-D
      27th Judicial District Court, St. Landry Parish, Louisiana
      Class Counsel
10.   Clark A. Gunderson, M.D., et al. v. F.A. Richard & Associates, Inc., et al.
      Civil Action No. 2004-002417
      14th Judicial District Court, Calcasieu Parish, Louisiana
      Class Counsel
11.   Darcy Guidry, et al. v. American Public Life Ins. Co., et al.
      Civil Action No. 2008-3465, Div. "G"
      14th Judicial District Court, Calcasieu Parish, Louisiana
      Lead Counsel for the Class
